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 AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                        District of New Jersey

                  United States of America                           )
                             V.                                      )
                                                                     )       Case No.
                      ELLIOTT ATWELL
                                                                     )                  20-mj-1010 (AMO)
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           12/1/18 thru on or about 12/24/18      in the county of               Ocean         in the
                       District of _______ New Jersey·��        , the defendant(s) violated:

             Code Section                                                      Description of Offenses
21 U.S.C. Sections 331(a) and 333               See Attachment A
(a)(1); 21 USC Sections 331(k) and
333(a)(1)




          This criminal complaint is based on these facts:
See Attachment B




         if Continued on the attached sheet.


                                                                                         SIA Daniel A. Garrabrant, FBI
                                                                                               Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4. 1 by
           ph o n e _
     t el e-=--       _ (specify reliable electronic means).
_____ _ _ _ _ _ _ __
Date:             05/05/2020
                                                                                                 Judge 's signature

City and state:                    District of New Jersey                       Hon. Ann Marie Donio, U.S. Magistrate Judge
                                                                                               Printed name and title
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